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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA OF
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )   CASE NO. 1:08-cr-029-MEF
                                             )
LEMONT ISREAL NORWOOD and                    )
JASON EVERETT WALKER                         )

                                    ORDER

      There being no objections filed to the Recommendation of the Magistrate Judge

entered on May 21, 2008 (Doc. #38), said Recommendation is hereby adopted and it is the

      ORDER, JUDGMENT and DECREE of the court that the motions to suppress filed

by the defendants (Doc. #30 & #31) are DENIED.

      DONE this the 6th day of June, 2008.




                                                /s/ Mark E. Fuller
                                        CHIEF UNITED STATES DISTRICT JUDGE
